                   Case 1:02-cr-00011-DHB Document 181 Filed 02/15/19 Page 1 of 1
AO 247(Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)        Page 1 of2(Page 2 Not for Public Disclosure)
                                                                                                                     T-r
                                                                                                                                    i'-i icr
                                     United States District Coui^f                                                               'ilj
                                                                                                                                    •'V/ ' 1




                                                                       for the

                                                     Southern         District of         Georgia
                                                                                                           20i9FEB15 AH 8: 23
                                                                Augusta Division
                                                                                                          CLERK
                     United States of America                                                                    SO.
                                    V.                                     )
                                                                           )Case No:          CR102-00011-00I
                     Ralph Tyrone Williams                                 )
                                                                            )USMNo: 10991-021
Date of Original Judgment:         December 13, 2002                       )
Date of Previous Amended Judgment: June 15^2009                            )J. Pete Theodocjon
(Use Dale ofLast Amended Judgment ifAny)                                       Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18 U.S.C § 3582(c)(2)
        Upon motion of ^the defendant □ the Director of the Bureau of Prisons □ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          □ DENIED.           ^ GRANTED and the defendant's previously imposed sentence of imprisonment (as refected in
the lastjudgment issued) 0^                   _240                    months is reduced to                       TirT^_Served_
                                             (Complete Parts / and II ofPage 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                     December 13, 2002 shall remain in effect.
IT IS SO ORDERED.


Order Date:
                                                                                                       ge s signature


Effective Date:                                                     Dudley H. Bowen, Jr.
                                          ^ /, 2 01^                United States District Judge
                     (if different from ^der date)                                                Printed name and title
